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                                                                                           April 14, 2023
 Via Electronic Filing
 The Honorable Taryn A. Merkl, U.S.M.J.
 U.S. District Court, Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                       Re:      Ramos v. City Wav Corp. et al
                                Case No.: 22-cv-00990

 Dear Honorable Magistrate Judge Merkl:

        This law firm represents Plaintiffs Jose Ramos, Makhinbonu Narzullaeva, Javohir Juraev,
 Azizjon Kakhramonov and Bakhron Manarakhinop (collectively, the “Plaintiffs”) in the above-
 referenced action.

        Pursuant to Your Honor’s March 2, 2023 Order this letter respectfully serves to provide
 the Court with a status report in the above-referenced action.
       As of April 11, 2023, Clerk’s Certificates of Default Judgment were entered as against each
 non-appearing Defendant in this action. [See Dckt. No. 36].

        Plaintiffs are currently in the process of finalizing a motion for default judgment against
 the Defendants.

       We thank the Court for its attention to this matter, and are available at the Court’s
 convenience to answer any questions related to the foregoing.

        Thank you, in advance, for your time and consideration.
                                                                LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                                                By:     /s/ Jason Mizrahi
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